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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE


DASSO INTERNATIONAL, INC.                              )
and EASOON USA, LLC,                                   )
                                                       )
                            Plaintiffs,                )
                                                       )
         vs.                                           )      Case No. 17-cv-1574
                                                       )
MOSO NORTH AMERICA, INC. and )
MOSO INTERNATIONAL BV,                                 )
                                                       )
                            Defendants.                )
- ---------------------------------------------------- )
                                                       )
EASOON USA, LLC,                                       )
                                                       )
                            Plaintiff,                 )
                                                       )
         vs.                                           )      Case No. 19-cv-564
                                                       )
BRETT KELLY, MARK CLIFTON,                             )
and DAVID OSTERMAN,                                    )
                                                       )
                            Defendants.                )

                                                    AMENDED
                             JUDGMENT FOLLOWING JURY VERDICT

         The Court having held a jury trial and the jury having rendered a unanimous

verdict on June 9, 2023, pursuant to Rule 58(b) of the Federal Rules of Civil Procedure,

and based upon the parties' later submissions, IT IS HEREBY ORDERED that an

amended judgment is entered as follows:

         1.       On Case No. 17-cv-1574:

         a.       In favor of plaintiffs Dasso International Inc. and Easoon USA LLC and

against MOSO North America Inc. and MOSO International BV on the following count of

the second amended complaint: Count 1 (patent infringement);
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       b.     In favor of plaintiff Easoon USA LLC and against MOSO North America

Inc. and MOSO International BV jointly and severally on the following counts of the

second amended complaint: Count 2 (tortious interference); Count 3 (Del. Deceptive

Trade Practices Act); and Count 4 (aiding and abetting breach of fiduciary duty).

       c.     In favor of plaintiffs Dasso International Inc. and Easoon USA LLC and

against defendants MOSO North America Inc. and MOSO International BV jointly and

severally on the following counts of the second amended counterclaim: Count 1 (patent

non-infringement); Count 2 (patent exhaustion); Count 3 (patent invalidity); Count 5

(tortious interference); Count 7 (trade libel).

       d.     In favor of defendants MOSO North America Inc. and MOSO International

BV and against Easoon USA LLC on the following counts of the second amended

counterclaim: Count 4 (Del. Deceptive Trade Practices Act); Count 6 (libel); and Count 8

(slander).

       2.     On Case No. 19-cv-564:

       a.     In favor of plaintiff Easoon USA LLC and against defendant Brett Kelly on

the following count of the complaint: Count 1 (breach of fiduciary duty).

       b.     In favor of plaintiff Easoon USA LLC and against defendants Brett Kelly;

Mark Clifton; and David Osterman jointly and severally on the following count of the

complaint: Count 4 (misappropriation of trade secrets).

       c.     In favor of plaintiff Easoon USA LLC and against defendant Brett Kelly on

the following counts of the complaint: Count 5 (breach of fiduciary duty) and Count 7

(fraud).
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       3a.     Damages, including supplemental damages and pre-judgment interest, are

awarded in favor of plaintiffs Dasso International Inc. and Easoon USA LLC on the

second amended complaint in Case No. 17-cv-1574 and the complaint in Case No. 19-

cv-564 against defendants MOSO North America Inc.; MOSO International BV; Brett

Kelly; Mark Clifton; and David Osterman jointly and severally in the amount of

$1,727,575.

       3b.     Enhanced damages under 35 U.S.C. § 284 are awarded in favor of

plaintiffs Dasso International Inc. and Easoon U SA, LLC and against defendants MOSO

North America Inc. and MOSO International BV in the amount of $765,599.

       3c.     MOSO North America, Inc. and MOSO International BV are jointly and

severally liable for the amounts in sections 3a and 3b above.

       4.      A permanent injunction is entered as follows: MOSO North America, Inc.

and MOSO International BV (collectively "MOSO") and each of their officers, agents,

servants, employees, attorneys, and any other persons who are in active concern or

participation with them, are hereby enjoined from infringing any of claims 1, 2, 4-7, 8, 9,

10, 13, and 15 of United States Patent 8,709,578 (the "'578 patent") including by

making, using, offering for sale, selling, or importing the adjudicated products and any

products not more than colorably different from the adjudicated products, in the United

States and its territories, until the expiration of the '578 patent, including any USPTO

extensions. This Court retains jurisdiction to enforce the judgment and permanent

injunction relating to this action.

       5.      Damages are awarded in favor of defendants MOSO North America Inc.

and MOSO International BV on the second amended counterclaim in Case No. 17-cv-

1574 against plaintiff Easoon USA LLC in the amount of $100,000.

       6.      All remaining claims in both Case No. 17-cv-1574 and Case No. 19-cv-
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564 are dismissed.

                              SO ORDERED AND SIGNED
                              this 4th day of October, 2023:


                              MATTHEW F. KENNELLY
                              U.S. District Judge
